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                              No. 23-cv-02305 (ALC)

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

                              SETH ALTER,
                                                                           Plaintiff,
                                                      -against-

                              NEW YORK SCHOOLS CONSTRUCTION
                              AUTHORITY and FELICE SONTUPE,
                                                            Defendants.

                                 MEMORANDUM OF LAW IN SUPPORT OF
                               DEFENDANTS’ PARTIAL MOTION TO DISMISS
                                         THE COMPLAINT

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                                       Matter No.: 2023-027087


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
SETH ALTER,
                                                           Plaintiff,     23-CV-02305 (ALC)
                              -against-

NEW YORK CITY SCHOOLS CONSTRUCTION
AUTHORITY and FELICE SONTUPE
                                                      Defendants.
--------------------------------------------------------------------- x
                           DEFENDANTS’ MEMORANDUM OF LAW IN
                           SUPPORT OF THEIR PARTIAL MOTION TO
                           DISMISS THE COMPLAINT

                                     PRELIMINARY STATEMENT

                 Plaintiff, formerly employed as an Investigative Accountant for the Office of the

Inspector General at the School Construction Authority (“SCA”) from 2014-2022, commenced

this action asserting a First Amendment retaliation claim under 42 U.S.C. § 1983 (“§ 1983”)

against Felice Sontupe, the former Inspector General of the SCA, as well as putative

whistleblower claims under N.Y. Civil Service Law § 75-b and N.Y. Public Authorities Law

§ 2857 (“PAL § 2857”) against the SCA. Plaintiff claims that he was marginalized in his office,

and finally terminated, as a result of seeking investigations into various areas of alleged SCA

misconduct.

                 As set forth more fully below, Plaintiff’s First Amendment retaliation and § 2857

claims should be dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure for

failure to state a claim upon which relief can be granted. First, Plaintiff’s First Amendment

retaliation claim fails as his “speech” falls squarely within his official responsibilities as an

Investigative Accountant with the SCA, and therefore does not qualify as speech protected by the

First Amendment. Second, Plaintiff’s claim pursuant to § 2857 fails since that law does not

provide for a private right of action to enforce its provisions. For these reasons, and those
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articulated fully below, Plaintiff’s claims under the First Amendment and § 2857 should be

dismissed.

                                   STATEMENT OF FACTS 1

               Plaintiff began his employment with the SCA as an investigative accountant in

November of 2014. See First Amended Complaint (“FAC”), ECF Dkt. No. 18 at ¶ 14. Plaintiff

claims he is an “experienced financial consultant” and that he is a Certified Public Accountant

and Fraud Examiner, and that he is certified in Financial Forensics. Id. at ¶ 14. The FAC alleges

that, as an investigative accountant, Plaintiff was tasked with “conduct[ing] audits of corporate

records, contracts, and submissions . . . manag[ing] the evidentiary chain and inventory for all

books, records, and other documents in the course of an investigation [and] assisting legal staff.”

Id. at ¶ 16. Plaintiff was also assigned to report to the Office of the Inspector General’s Manager

of Field Investigations, who would assign Plaintiff to specific investigations and assign Plaintiff

tasks on these investigations. Id. at ¶ 15.

               From 2014 until 2017, the Office of Inspector General (“OIG”) was led by

Inspector General Maria Mostajo. Id. at ¶ 18. Under her leadership, Plaintiff alleges he sought

investigations of certain subjects and areas to safeguard the funds of the SCA and discover

unlawful spending. Id. at ¶ 21. The FAC alleges that these tasks were outside of Plaintiff’s job

responsibilities, however, Plaintiff contends that they were welcomed and, at times,


1 This statement of facts is derived from the allegations in the Amended Complaint (ECF Dkt.

No. 18) which are assumed to be true for purposes of this motion to dismiss only. The exhibit
referred to herein is annexed to the Declaration of Karen K. Rhau dated September 29, 2023
(“Rhau Decl.”) accompanying this memorandum of law. Defendants rely upon the Investigative
Accountant Job Profile annexed to the Declaration of Karen K. Rhau dated September 29, 2023
(“Rhau Decl.”). See DiFolco v. MSNBC Cable, L.L.C., 622 F.3d 104, 111 (2d Cir. 2010). This
exhibit annexed thereto is incorporated by reference in the Amended Complaint and/or is integral
to the Amended Complaint and may thus be considered for the purposes of deciding this this
motion to dismiss. See id.

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investigations were undertaken based on Plaintiff’s requests. Id. at ¶ 21. Plaintiff alleges that he

received positive evaluations for his work including an evaluation where he was rated “Very

Good” from First Assistant Inspector General Gerard McEnroe. Id. at ¶ 18. Plaintiff alleges that

Mostajo recommended Plaintiff for a promotion on two occasions, in December 2016 and again

in April 2017. Id. at ¶ 19. Plaintiff contends that his direct supervisor at the time, Nicholas

Scicutella, also supported the promotion requests. Id.

               Plaintiff claims that he had a much different experience, however, when Sontupe

became Inspector General.      According to Plaintiff, Sontupe instructed him to stop seeking

investigations into certain areas. Id. at ¶ 21. For instance, Plaintiff claims that he requested

investigations into the following areas from 2017-2022: (1) improper commingling of funds for

different projects; (2) improper non-emergency use of contractors who were only eligible to be

hired outside normal bidding process for emergency situations; (3) potential violations of

procurement processes; and (4) improper transactions between the New York City Department of

Education and the SCA. Id. at ¶ 23a-d. Plaintiff claims Sontupe retaliated against him for

making comments about these areas of investigation by withdrawing Plaintiff’s prior

recommendations for promotion, “reject[ing]” his observations, and by limiting Plaintiff’s access

and ability to view confidential sources of information thereby preventing Plaintiff from further

investigating issues. Id. at ¶ 24. Plaintiff claims that these actions were taken because “Ms.

Sontupe and others were annoyed by Mr. Alter’s requests to investigate tough and uncomfortable

internal issues.” Id.

               Plaintiff claims that Sontupe wrote a memorandum on September 16, 2020 where

she described Alter as “antagonistic,” “disruptive,” and she also stated Plaintiff was engaging in

“unprofessional behavior,” and exhibiting a “disruptive nature and hostility to [his] supervisors.”



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Id. at ¶ 26. Plaintiff alleges that he tried to complain to his supervisor at the time, William

Schaeffer, that he believed Sontupe was retaliating against him, and he was told in response by

Schaeffer, “I don’t want to get in between whatever is going on between you and [Sontupe].” Id.

at ¶ 28.

                 In December 2021, Plaintiff alleges he made complaints to the SCA’s General

Counsel and New York City Department of Investigation (“DOI”) as a result of the alleged

retaliation. Id. at ¶ 29. Plaintiff alleges that, in September 2022, the DOI concluded that there

was no retaliation. Id. at ¶ 31. Plaintiff contends that, approximately 2 months after his

complaint to DOI, SCA terminated his employment. Id. at ¶ 32.

                 Plaintiff commenced this action on March 17, 2023. See ECF Dkt. 1. On July

11, 2023, this Court granted Plaintiff leave to file an amended complaint in this matter. See ECF

Dkt. No. 17. Plaintiff filed an amended complaint on July 21, 2023. See ECF Dkt. No. 18.

                                         ARGUMENT

                                            POINT I

                        THE FIRST AMENDED COMPLAINT FAILS
                        TO   STATE     A  PLAUSIBLE   FIRST
                        AMENDMENT RETALIATION CLAIM AND
                        THERE IS NO PRIVATE RIGHT OF ACTION
                        UNDER PAL § 2857

A.         Plaintiff’s 42 U.S.C. § 1983 Retaliation Claim Based On The First Amendment Fails

                 Plaintiff claims that when Defendant Sontupe was appointed in 2017, Defendants

took action against him by criticizing his work, limiting his responsibilities, and by denying

Plaintiff a promotional opportunity because he sought investigations into several areas of the

SCA involving the misuse of funds and misconduct. See FAC, ECF Dkt. No. 18 at ¶¶ 3-4.

Plaintiff’s First Amendment claim fails because he spoke as an employee as part of his assigned



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job responsibilities, and not a citizen on a matter of public concern, and so his speech was not

protected under the First Amendment.

               To make out a prima facie case of First Amendment retaliation, a plaintiff must

establish “(1) that the speech or conduct at issue was protected, (2) that the defendant took

adverse action against the plaintiff, and (3) that there was a causal connection between the

protected speech and the adverse action.” Shara v Maine-Endwell Cent. Sch. Dist., 46 F.4th 77,

82 (2d Cir. 2022). In determining the first prong of the test, courts will look at whether the

employee spoke as a citizen, and also whether the employee spoke on a matter of public concern.

See id. at 82. To determine whether an employee spoke as a citizen, courts will assess whether

the “employee’s speech falls outside of his official responsibilities; second . . . ‘whether a

civilian analogue’ to the employee’s speech exists.” Id. at 83. Public employees speaking

pursuant to their official duties are not speaking as citizens under the First Amendment. See

Garcetti v. Ceballos, 547 U.S. 410, 421 (2006). This is still the case even if the speech is a

matter of public concern. See id. at 423.

               In order to determine whether a public employee speaks pursuant to his official

duties, courts will look at the nature of plaintiff’s responsibilities and plaintiff’s speech and the

relationship between the two. See Ross v. Breslin, 693 F.3d 300, 306 (2d Cir. 2012). Speech

concerning an employee’s “ability to properly execute his duties” is speech made pursuant to

those duties. Weintraub v. Board of Educ., 593 F.3d 196, 203 (2d Cir. 2010) (quotation marks

omitted); accord Montero v. City of Yonkers, 890 F.3d 386, 390 (2d Cir. 2018). Speech does not

have to be “included in[] the employee’s job description,” nor even “expressly required” by an

employer, so long as it is a “means to fulfill” a major employment responsibility. Weintraub,

593 F.3d at 202-03.



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                Simply put, when Plaintiff purportedly requested investigations into the improper

commingling of funds for projects, the improper non-emergency use of contractors, the potential

violations of procurement processes, and the alleged improper transactions between the SCA and

the New York City Department of Education, see ECF Dkt. No. 18, FAC at ¶ 23a-d, Plaintiff

was only doing what he was supposed to do as an Investigative Accountant for the SCA. See

FAC, ECF Dkt. No. 18. Plaintiff alleges that his tasks included “conduct[ing] audits of corporate

records, contracts, and submissions . . . manag[ing] the evidentiary chain and inventory for all

books, records and other documents obtained in the course of an investigation [and] assisting

legal staff.”   See id. at ¶ 16.      Plaintiff’s alleged observations of “potentially improper

transactions” between the SCA and the New York City Department of Education, and the

improper commingling of funds could only come about by his “audit” of corporate records and

contracts. Plaintiff’s allegations that his “requests were outside his job responsibilities” is belied

by his full job description. See Investigative Accountant Job Profile annexed to Rhau Decl. as

Ex. A. According to Plaintiff’s job description, he is “responsible for investigations that may

result in administrative, civil, and criminal proceedings.” Id. Furthermore, as an investigator,

Plaintiff is tasked with “follow[ing], explor[ing], and exploit[ing] investigative leads.”         Id.

Plaintiff’s areas of investigation into the commingling of funds of certain projects, how

contractors are used, violations of procurement processes and improper financial transactions

between two governmental agencies are investigations that could very well result in civil or

criminal proceedings. And by Plaintiff seeking investigation into these areas, he is exploring

possible leads that may develop into investigations that DOI or OIG would have to explore.

                “[S]peech is ‘pursuant to’ [an employee’s] official duties [when] it [is] ‘part-and-

parcel of his concerns’ about his ability to ‘properly execute his duties’ . . . [or a] ‘means to



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fulfill’ and ‘undertaken in the course of performing’ [the employee’s] primary employment

responsibility.” Weintraub v. Bd. of Educ., 593 F.3d 196, 203 (2d Cir. 2010) (quoting (Williams

v. Dallas Ind. Sch. Dist., 480 F3d 689, 693, 694 (5th Cir. 2007) and Renken v. Gregory, 541 F.3d

769, 774 (7th Cir. 2008)) (internal citations omitted) (holding that speech can be “pursuant to” a

public employee’s official job duties even though it is not required by, or included in, the

employee’s job description, or in response to a request by the employer.); O’Connor v.

Huntington U.F.S.D., No 11-CV-1275 (JFB)(ARL), 2014 U.S. Dist. LEXIS 39596 at *22

(E.D.N.Y. Mar. 24, 2014) (holding that teacher spoke as a public employee, rather than as a

private citizen, when he complained about potential grading improprieties.).

               Plaintiff’s claim that he was seeking investigations into potential areas of

misconduct by the SCA as an investigative Accountant for the Office of Inspector General at the

SCA, even if true, is “part-and-parcel of [Plaintiff’s] concerns about his ability to properly

execute his duties.” Shara 46 F.4th at 86 (quoting Weintraub, 593 F.3d at 203) (holding that

school bus driver who argued with a School District mechanic — and later with School District

officials — over the frequency with which bus inspection results should be reported did not

engage in speech protected by the First Amendment).              In any event, an employee’s

characterization of his own speech is not dispositive. See Ross, 693 F.3d at 307. Additionally,

allegedly seeking investigations into potential areas of misconduct, are all a “means to fulfill”

and “undertaken in the course of performing” his primary employment responsibility as an

investigative accountant. See Weintraub, 593 F.3d at 203. In fact, Plaintiff’s speech concerning

funds used by the SCA or its procurement processes, in effect, stemmed from his intimate

knowledge of the SCA as an investigative accountant, which “owed its existence to Plaintiff’s

professional responsibilities.” Micillo v NY City Dept. of Educ., No. 14 Civ. 00943 (LAK)



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(GWG), 2015 U.S. Dist. LEXIS 12321, at *11-12 (S.D.N.Y. Feb. 2, 2015) (“restricting speech

that owes its existence to a public employee’s professional responsibilities does not infringe any

liberties the employee might have enjoyed as a private citizen.”) (rejecting claim that an

Assistant Principal engaged in protected free speech by reporting timecard fraud), objection

overruled by, adopted by, motion granted by and complaint dismissed, 2015 U.S. Dist. LEXIS

26405 (S.D.N.Y., Mar. 3, 2015). Any possible mismanagement of funds or improper use of

resources would only come by virtue of Plaintiff’s responsibilities as an investigative accountant

for the SCA.

               The Plaintiff here engaged in similar conduct to the plaintiff in Robinson v. New

York City Dep’t of Educ., No. 20 CV 8175 (VSB), 2021 U.S. Dist. LEXIS 181134, *18

(S.D.N.Y. 2021). There the Court granted the defendant’s motion to dismiss a complaint where

the plaintiff alleged First Amendment retaliation claiming she was terminated for having

reported several violations of state law to her immediate supervisor and the Special

Commissioner of Investigation for the New York City School District. Plaintiff in Robinson was

the Executive Director of New York City Department of Education’s Office of Pupil

Transportation (“OPT”). The plaintiff reported violations related to bus driver certifications and

training certificates, including an allegation that one private company was selling invalid bus

driver certificates. Plaintiff argued that her “speech” to those entities is protected under the First

Amendment because the testimony to the FBI and New York Attorney General’s (“NYAG”)

office in response to some subpoenas were outside the scope of her ordinary job duties. See id.

The Court held that while that may be true “Plaintiff was only speaking to the FBI and NYAG

based on her specialized knowledge of DOE and OPT matters.” Id. The Court stated further that

“Plaintiff does not address the core problems for her First Amendment retaliation claim: (1) that



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her speech was central to her employment responsibilities to oversee training and certification

for public school bus drivers, and (2) that she knew about the issues in question because of the

specialized knowledge she gained through her employment position.” Id. As such, the Court

concluded that “Plaintiff was in no way speaking as an ordinary citizen; therefore, she cannot

satisfy the first element” of a First Amendment retaliation claim. Id. Like the plaintiff in

Robinson, Plaintiff’s alleged speech here was central to his employment responsibilities

concerning investigations surrounding the SCA and he only knew about those issues because of

his specialized knowledge of investigations as an investigative accountant.

               Moreover, even though there may have been a civilian analogue in connection

with his claimed report to DOI, that alone is not dispositive. As noted above, ultimately, courts

have emphasized, “the inquiry into whether speech was made pursuant to an employee’s official

duties is a practical one, focused on whether the speech was part-and-parcel of his concerns

about his ability to properly execute his duties.” Ross, 693 F.3d at 305-306 (internal quotation

marks and citations omitted); see Garcetti, 547 U.S. at 424; Montero, 890 F.3d at 398;

Weintraub, 593 F.3d at 202, 203; Robinson, 2021 U.S. Dist. LEXIS 181134, *18. The fact that

Plaintiff’s “speech” indisputably owes its existence to his role as an investigative accountant,

when he complained of improper transactions between the SCA and the New York Department

of Education for instance, demonstrates Plaintiff was not speaking as a citizen.       As such,

Plaintiff’s First Amendment claim should be dismissed.

B.     Plaintiff’s Claim Under PAL § 2857 Does Not Provide For A Private Right of Action
       To Enforce Its Provisions

               Plaintiff alleges that the SCA violated the whistleblower protection provision of

PAL § 2857. First, for the reasons set forth above, Plaintiff’s “disclosures” were merely part of

his work as an investigative accountant for the SCA; thus, Plaintiff cannot be deemed to be a


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“whistleblower.” Moreover, this law does not provide for a private right of action to enforce its

provisions. Courts will imply a private right of action if the following conditions are met: “(1)

whether the plaintiff is one of the class for whose particular benefit the statute was enacted; (2)

whether recognition of a private right of action would promote the legislative purpose; and (3)

whether creation of such a right would be consistent with the legislative scheme.” Ahmad v.

Nassau Health Care Corp., 8 A.D.3d 512, 513 (2d Dep’t 2004). Even if the Plaintiff may be one

of the class for whose benefit the statue was enacted, recognition of a private right of action

would not promote the legislative purpose and would not be consistent with the legislative

scheme. In an effort to provide the public with greater transparency of the activities of public

authorities, legislation was enacted in 2009 expanding the powers and resources of the

Authorities Budget Office (“ABO”) to enable it to better “police” state and local public

authorities including a full range of enforcement powers to “act upon complaints” regarding any

authority. See, generally, Matter of Madison County Indus. Dev. Agency v. State of NY Auths.

Budget Off., 33 N.Y.3d 131, 136-137 (2019). PAL § 2857 was enacted as part of that legislation

but the independent ABO was vested with the enforcement authority. A private right of action

under PAL § 2857 would not promote the legislative purpose or be consistent with the legislative

scheme to enhance the powers and independence of the ABO. In fact, according to the mission

statement of the New York State Authorities Budget Office, the powers of the ABO include

“investigating and acting on complaints concerning the failure of a public authority to comply

with     State     law.”          Authorities        Budget    Office,     mission      statement,

https://www.abo.ny.gov/abo/about_mission.html. See Mission Statement annexed to Rhau Decl.

as Ex. B. As such, no private right of action could exist under PAL § 2857 and so Plaintiff’s

claim based on this statute should be dismissed.



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                                         CONCLUSION

               For the foregoing reasons, Defendants respectfully request that this Court grant

their partial motion to dismiss the Amended Complaint relating to the foregoing claims, together

with such other and further relief as this Court deems just and proper.



Dated:         New York, New York
               September 29, 2023

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